       DISTRICT COURT OF APPEAL OF THE STATE OF FLORIDA
                              FOURTH DISTRICT

                          NAQUAN D. MACK,
                             Appellant,

                                    v.

                         STATE OF FLORIDA,
                              Appellee.

                           No. 4D2024-1012

                           [August 22, 2024]

   Appeal of order denying rule 3.850 motion from the Circuit Court for
the Fifteenth Judicial Circuit, Palm Beach County; Howard K. Coates, Jr.,
Judge; L.T. Case No. 502018CF004758AXXXMB.

   Naquan Mack, Bonifay, pro se.

   No appearance required for appellee.

PER CURIAM.

   Affirmed.

KLINGENSMITH, C.J., GERBER and KUNTZ, JJ., concur.

                          *          *          *

   Not final until disposition of timely filed motion for rehearing.
